[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
The above-captioned case came before the court for trial on the merits on October 23, 1996. After presentation of evidence, in the form of admissions, the court finds the facts to be follows.
On August 21, 1990, the plaintiff and defendant entered into a written agreement by which the plaintiff agreed to supply and install a boiler and the defendant agreed to pay $3,200.00. The plaintiff installed the equipment at the location specified in the contract and the defendant failed to pay. CT Page 8873
The plaintiff has proven its claim of breach of contract. Judgment shall enter in favor of the plaintiff against the defendant in the amount of $3,200.00. The plaintiff shall recover its court costs upon application to the court clerk.
Beverly J. Hodgson Judge of the Superior Court